                Case 09-10138-MFW             Doc 17958-5        Filed 02/24/17       Page 1 of 40




                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                            Invoice No. 793408
400 Madison Avenue                                                                 March 18, 2014
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

 Re: NORTEL                                                                        L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                February 28, 2014 In Connection With The Following:


2/3/14           BPG      Follow-up re: expert reports, finalize table re:         0.90           $621.00
                          same and circulate (.9).
2/3/14           CWD Reviewing revisions to pre-trial conference                   0.40           $228.00
                       Memorandum re: Trial Protocol, e-mails re
                      same (.2); reviewing docket (.1); e-mails re
                      expert reports (.1).
2/3/14           DAL Review chart re expert reports (.7).                          0.70           $626.50
2/4/14          BPG       Review e-mails re: Trial Protocol, follow-up re:         0.20           $138.00
                          same (.2).
2/4/14          CWD E-mails re pre-trial conference Memorandum                     0.20           $114.00
                      re: Trial Protocol (.1); reviewing docket (.1).
2/4/14          DAL       Court hearing (.4); review updated draft of              1.70         $1,521.50
                          Memorandum memorializing Court hearing on
                          the Trial Protocol and e-mails with J. Heaney re
                          same (.3); review expert reports (1.0).
2/5/14          BPG       Review e-mails re: meet and confer, follow-up            1.00           $690.00
                          D. Lowenthal re: same, follow-up C. Dent re
                          same (.5); follow-up re: list of deponents and
                          consider follow-up with Akin (.3); review
                          additional e-mails re: discovery, trial (.2).
2/5/14          CWD Reviewing docket (.1); e-mails re final pre-trial              0.40           $228.00
                     conference Memorandum re: Trial Protocol,
                      reviewing same (.1); e-mails re document
                     productions and March meet and confer (.1);
                     TC B. Guiney re deposition summaries (.1).




6772473v.1
               Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17   Page 2 of 40



                                                                          Page 2
                                                                          Invoice No. 793408
                                                                          March 18, 2014
                                                                          L0353-000007


2/5/14         DAL     Attention to possible meet and confer (.1);         0.50        $447.50
                       review Memorandum and attachments re
                       January 29 hearing (.5).
2/6/14         BPG     Prepare for and participate on weekly               1.90      $1,311.00
                       Committee call, follow-up re: same (.8); work
                       on list of deponent summaries, consider Akin
                       summaries and other materials in connection
                       with same (1.1).
2/6/14         CWD Committee call, TC D. Lowenthal and B.                  1.60        $912.00
                    Guiney re same (.8); reviewing docket (.1); e-
                    mails re meet and confer (.2); revising monthly
                    fee statement, note to accounting department re
                    same (.5).
2/6/14         DAL     Committee call (.8).                               0.80         $716.00
2/7/14         BPG     Finalize and follow-up re: list of deponents,      0.60         $414.00
                       circulate same (.4); follow-up J. Sorkin re:
                       expert reports, confer C. Dent re: same (.2).
2/7/14         CWD E-mails re Canadian proceedings (.1); e-mails          0.70         $399.00
                     re Akin deposition summaries, OC B. Guiney
                     re same (.5); e-mails re meet and confer (.1).
2/7/14         DAL Review expert reports (2.0).                           2.00       $1,790.00
2/10/14        BPG     Review docket (.1); follow-up C. Dent re:          0.20         $138.00
                       deposition transcripts (.1).
2/10/14        CWD Reviewing docket (.2); finalizing fee statement        0.70         $399.00
                    (.4); e-mails re depositions (.1).
2/10/14        DAL     Review expert reports (7.6).                       7.60       $6,802.00
2/11/14        BPG     Review docket, follow-up re: e-mails related to    0.40         $276.00
                       ongoing litigation, follow-up re: internally re:
                       expert reports and deposition summaries (.4).
2/11/14        CWD E-mails w/Akin re deposition summaries (.1);           0.30         $171.00
                     TC B. Guiney re rebuttal expert reports and
                     related deadlines, follow-up re same (.2).
2/11/14        DAL     Review expert reports (1.3).                       1.30       $1,163.50




6772473 v. I
             Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17     Page 3 of 40



                                                                       Page 3
                                                                       Invoice No. 793408
                                                                       March 18, 2014
                                                                       L0353-000007


2/12/14      BPG     Follow-up J. Sorkin re: expert rebuttal reports      0.70      $483.00
                     (.2); confer D. Lowenthal re: same, review
                     agenda, follow-up re: new Canadian Judge,
                     confer C. Dent re: same (.5).
2/12/14      CWD E-mails re rebuttal expert reports, OC B.                0.60      $342.00
                   Guiney re same (.1); reviewing docket (.1); e-
                   mails from Committee re Committee call and
                   Canadian trial schedule, e-mails w/D.
                   Lowenthal re same, OC B. Guiney re same (.2);
                   e-mails re Akin deposition summaries,
                   reviewing same (.2).
2/13/14      BPG E-mails w/D. Lowenthal and C. Dent re:                   1.20      $828.00
                   deposition summaries and expert rebuttal
                   reports (.1); follow-up J. Sorkin re: same,
                   follow-up D. Lowenthal re: same and prepare
                   for Committee call (.3); participate on same
                   and follow-up (.8).
2/13/14      CWD Preparing for and participating in Committee             1.20      $684.00
                   Call, OC D. Lowenthal re same (1.2).
2/13/14      DAL Committee call and related follow-up (1.4);           3.60        $3,222.00
                   review expert reports (2.2).
2/14/14      BPG     E-mails with C. Dent and D. Lowenthal re: trial   0.30         $207.00
                     preparation; other issues (.3).
2/14/14      CWD OC B. Guiney re Akin deposition summaries,            0.30         $171.00
                  e-mails re same (.2); e-mail from Committee re
                  Dentons conflicts waivers (.1).
2/14/14      DAL Work on fee statement (1.0); attention to             1.40        $1,253.00
                  Canadian Committee counsel issue (.1); review
                  expert reports (.3).
2/16/14      DAL Review expert reports (1.5); work on fee              1.60       $1,432.00
                   statement (.1).
2/17/14      DAL Attention to document production received             0.10          $89.50
                   from Canada (.1).
2/18/14      BPG    Follow-up D. Lowenthal and C. Dent re: next        3.40       $2,346.00
                    steps (.1); confer C. Dent re: same (.1); OC D.
                    Lowenthal and C. Dent re: same (.5); reviewing
                    deposition summaries (2.7).




6772473v.1
              Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17    Page 4 of 40


                                                                         Page 4
                                                                         Invoice No. 793408
                                                                         March 18, 2014
                                                                         L0353-000007


2/18/14       CWD Reviewing docket (.2); e-mails re deposition            1.00        $570.00
                   summaries and expert reports, meeting re same
                   w/D. Lowenthal and B. Guiney (.8).
2/18/14       DAL     Attention to fact depositions and expert reports    0.70        $626.50
                      with B. Guiney and C. Dent (for part) (.7).
2/19/14       BPG     Finish reviewing deposition summaries (.9);         1.60      $1,104.00
                      confer C. Dent re: same (.2); follow-up J.
                      Sorkin re: expert reports (.1); TC D. Lowenthal
                      re: same and re: open issues (.3); additional
                      follow-up re: expert reports (.1).
2/19/14       CWD Reviewing docket (.1); TC B. Guiney re                  0.80        $456.00
                   depositions, reviewing Akin summaries re
                   same (.7).
2/19/14       DAL     Review expert reports (2.5).                        2.50      $2,237.50
2/20/14       BPG     Follow-up D. Lowenthal re: status (.2); TC J.       1.30        $897.00
                      Sorkin re: reports (.2); follow-up D. Lowenthal
                      re: same (.1); participate on weekly Committee
                      call (.5); TC B. Kahn re: docket, follow-up re:
                      same, confer C. Dent re: same (.3).
2/20/14       CWD Reviewing docket and agenda re Committee                1.00        $570.00
                   Call (.2); Committee call (.5); OC B. Guiney re
                   docket, e-mails re same (.3).
2/20/14       DAL Committee call and related follow-up (1.2);             3.70      $3,311.50
                    review expert reports (2.5).
2/21/14       BPG     TC C. Dent re: open issues (.4).                    0.40        $276.00
2/21/14       CWD TC B. Guiney re open issues (.4); reviewing             0.50        $285.00
                   docket (.1).
2/21/14       DAL     Attention to expert reports (1.7).                  1.70      $1,521.50
2/24/14       BPG     Confer C. Dent, D. Lowenthal re: expert             0.20        $138.00
                      reports (.2).
2/24/14       CWD OC B. Guiney re meet and confer, reviewing              0.10         $57.00
                   docket (.1).
2/25/14       BPG     Confer J. Sorkin re: expert reports, follow-up      0.60        $414.00
                      C. Dent re: same, follow-up D. Lowenthal re:
                      same (.6).




6772473v. I
             Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17     Page 5 of 40



                                                                         Page 5
                                                                         Invoice No. 793408
                                                                         March 18, 2014
                                                                         L0353-000007


2/25/14      CWD Reviewing docket (.2); OC B. Guiney and D.               0.80        $456.00
                  Lowenthal re expert reports (.3); reviewing
                  Navigant rebuttal expert report (.3).
2/25/14      DAL Review draft expert rebuttal report (.2).                0.20        $179.00
2/26/14      BPG Review Navigant report, confer C. Dent re:               3.10      $2,139.00
                   same, follow-up re: same (1.2); OC D.
                   Lowenthal and C. Dent re: same, TC J. Sorkin
                   re: same, additional follow-up re: same (1.6);
                   additional e-mails and follow-up re: same (.3).
2/26/14      CWD OC B. Guiney re Navigant report (.2);                    2.30      $1,311.00
                  reviewing docket (.1); meeting w/D. Lowenthal
                  and B. Guiney re expert reports, TC J. Sorkin
                  re same, follow-up re same, e-mails re same
                  w/Akin (2.0).
2/26/14      DAL Attention to expert reports (3.3); attention to          3.60      $3,222,00
                   escrowed proceeds (.3).
2/27/14      BPG     Confer D. Lowenthal re: expert reports, follow-      2.30      $1,587.00
                     up re: same (.5); prepare for and participate on
                     Committee call, follow-up re: same (.5);
                     additional follow-up re: same (.2) TC J. Sorkin,
                     follow-up re: revised report, review same (1.1).
2/27/14      CWD OC B. Guiney re expert reports, TC same re               1.70        $969.00
                  same (.2); reviewing docket (.1); Committee
                  call, OC D. Lowenthal and B. Guiney re same
                  (.5); e-mails and calls w/Akin re Committee
                  expert reports, TC D. Lowenthal re same, OC
                  B. Guiney re same (.5); reviewing revised
                  Navigant report (.3).
2/27/14      DAL Attention to upcoming meet and confer (1.3);             4.60      $4,117.00
                   Committee call and related follow-up (1.2);
                   attention to Committee rebuttal expert reports
                   (2.1).
2/28/14      BPG     OC D. Lowenthal and C. Dent re: expert               2.90      $2,001.00
                     reports, other open issues, follow-up re: same
                     (.5); review revised expert report from J. Sorkin
                     re: same, follow-up re: same, confer C. Dent
                     and D. Lowenthal re: same (1.0); multiple
                     additional TCs and e-mails re: same, additional
                     follow-up re: same (1.4).



6772473v.1
             Case 09-10138-MFW          Doc 17958-5        Filed 02/24/17     Page 6 of 40


                                                                          Page 6
                                                                          Invoice No. 793408
                                                                          March 18, 2014
                                                                          L0353-000007


2/28/14      CWD Reviewing docket and Agenda for 3/4 hearing,              2.70        $1,539.00
                  TC D. Lowenthal re same (.2); meeting w/D.
                  Lowenthal and B. Guiney re expert reports and
                  depositions, e-mails and follow-up re same
                  w/Cleary (.9); reviewing revised Navigant
                   report, e-mails re same, TC J. Sorkin re same,
                  internal calls re same (1.6).
2/28/14      DAL     Detailed attention to rebuttal expert reports,        6.40        $5,728.00
                     including review of draft Committee expert
                     reports, e-mails with Committee counsel, e-
                     mails with US Debtors' counsel, analysis of
                     revisions with B. Guiney and C. Dent (6.4).

                                                     Total Services       85.20       $65,875.50


              Daniel A Lowenthal           44.70 hours at       $895.00 $40,006.50
              Brian P. Guiney              23.20 hours at       $690.00 $16,008.00
              Craig W. Dent                17.30 hours at       $570.00 $9,861.00


                     Outside Professional Services                         2,486.00
                     Tvl - Meals                                              48.47
                     Tvl. Transportation/Lodging                             428.18

                                                     Total Expenses                    $2,962.65


                                                     Total This Invoice               $68,838.15




6772473v.I
                Case 09-10138-MFW             Doc 17958-5        Filed 02/24/17       Page 7 of 40




                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                           Invoice No. 795642
400 Madison Avenue                                                                April 7, 2014
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                 March 31, 2014 In Connection With The Following:


3/1/14          BPG       Attention to expert reports, review Kilimnik             1.20          $828.00
                          report and summarize (1.1).
3/2/14          CWD       E-mails re rebuttal expert reports (.1)                  0.10            $57.00
3/2/14          DAL       Attention to Trial Protocol meet and confer              2.00        $1,790.00
                          (1.0); begin review of rebuttal expert reports
                          (1.0).
3/3/14          BPG       Finalize Kilimnick summary, e-mail D.                    3.00        $2,070.00
                          Lowenthal and C. Dent re: same and re: other
                          expert reports (.4); begin reviewing Kinrich
                          report (.9); confer C. Dent re: expert reports
                          and other issues (.2); confer D. Lowenthal re:
                          same (.1); finish reviewing Kinrich and begin
                          summary of same (.6); begin reviewing C.
                          Bazelon report (.8).
3/3/14          CWD       E-mails re expert reports, follow-up re same,            1.80        $1,026.00
                          OC B. Guiney re same (1.3); reviewing docket
                          (.1); e-mails re expert deposition schedule (.1);
                          reviewing amendment and supplement to trial
                          protocol, e-mails re same wfB. Guiney (.3).
3/3/14          DAL       Prepare for meet and confer and travel to                9.00        $8,055.00
                          Toronto for same (7.8); review letter to
                          Canadian Court re trial (.3); review expert
                          reports (.9).




6881966v.2
             Case 09-10138-MFW           Doc 17958-5       Filed 02/24/17      Page 8 of 40


                                                                       Page 2
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/4/14       BPG     Finish reviewing Bazelon report (.5); begin        2.90        $2,001.00
                     reviewing Green report (1.2); finalize summary
                     of Kinrich reports (.9); confer C. Dent re:
                     expert reports (.2); follow-up D. Lowenthal re:
                     meet and confer (.1).
3/4/14       CWD E-mails re meet and confer, OC B. Guiney re            1.30          $741.00
                   same and Amendment Trial Protocol, e-mails
                   w/D. Lowenthal re same (.5); reviewing docket
                   (.1); e-mails w/D. Lowenthal and B. Guiney re
                   rebuttal expert reports, follow-up re same (.7).
3/4/14       DAL Attend meet and confer in Toronto and return          11.00        $9,845.00
                   to NY (11.0).
3/5/14       BPG     Attention to Trial Protocol issues, confer C.      2.50        $1,725.00
                     Dent re: same (.2); finish reviewing Green
                     report, review Bereskin report (2.3).
3/5/14       CWD Reviewing docket (.2); e-mails re meet and             0.40          $228.00
                  confer and amendment to Trial Protocol (.2).
3/5/14       DAL Memo to J. Heaney re meet and confer (1.5);            5.00        $4,475.00
                   review updated Amendment and Supplement to
                  Trial Protocol and provide comments to
                   counsel for other Core Parties (3.4); confer
                  with B. Guiney re Amendment and Supplement
                  (.1)
3/6/14       BPG     Review expert rebuttal chart, prepare for call     2.80        $1,932.00
                     (.2);confer C. Dent and D. Lowenthal (for part)
                     re: expert reports (.2); prepare for and
                     participate on weekly Committee call, follow-
                     up re: same (1.2); work on Bazelon summary
                     (.7); work on Bereskin summary (.5).
3/6/14       CWD Reviewing docket (.1); OC B. Guiney and D.             1.80        $1,026.00
                  Lowenthal re expert reports (.4); Committee
                  call, OC D. Lowenthal re same (1.3).
3/6/14       DAL     Committee call (1.3); attention to Amendment       2.50        $2,237.50
                     and Supplement to Trial Protocol (1.0); review
                     motion to modify recognition Order (.2).




6881966v.2
             Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17   Page 9 of 40


                                                                       Page 3
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/7/14       BPG Finalize Bereskin summary (.2); confer C. Dent         0.60        $414.00
                    re: expert depositions, open issues (.2); review
                    e-mail related to Trial Protocol and follow-up
                    (.2).
3/7/14       CWD Reviewing docket (.1); e-mails re rebuttal             0.70        $399.00
                  expert reports (.2); reviewing Amendment and
                  Supplement to Trial Protocol, e-mails re same
                  (.3); OC B. Guiney re expert witness
                  depositions (.1).
3/7/14       DAL Attention to upcoming status conference (.2);          2.10      $1,879.50
                   review revised Amendment and Supplement to
                   Trial Protocol (1.4); memo to J. Heaney re
                   same (.5).
3/9/1 4      BPG     Attention to e-mails re: Trial Protocol, review    0.50        $345.00
                     revised versions, follow-up re: same (.5).
3/9/14       CWD E-mails re revised Amendment and Supplement            0.20        $114.00
                   to Trial Protocol, reviewing drafts re same (.2).
3/9/14       DAL Emails with J. Stam re Trial Protocol (.2);            4.50      $4,027.50
                   review rebuttal expert reports (4.3).
3/10/14      BPG Draft summary of Green report (2.3); attention        2.80       $1,932.00
                   to revised protocol, e-mails D. Lowenthal re:
                   same (.3); attention to additional e-mails re:
                   same (.2).
3/10/14      CWD E-mails re Amendment and Supplement to                 0.50        $285.00
                   Trial Protocol (.2); e-mails re expert
                   depositions (.2); reviewing docket and Agenda
                   for 3/12 hearing, follow-up re same (.1).
3/10/14      DAL Attention to Trial Protocol revisions and update      4.20       $3,759.00
                   to J. Heaney (.4); review expert reports and
                   deposition schedule (2.2); further review of
                   additional updates to Amendment and
                   Supplement to Trial Protocol and multiple
                   letters/statements filed by Core Parties in US
                   and Canadian Courts re unresolved issues (1.6).




6881966v.2
             Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17    Page 10 of 40


                                                                       Page 4
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/11/14      BPG   Confer C. Dent re: expert reports, expert            1.50      $1,035.00
                   depositions, follow-up re: same (.2); review e-
                   mails related to discovery (.1); follow-up D.
                   Lowenthal re: hearing, confer C. Dent re: same
                   (.1); review additional e-mails re: Trial
                   Protocol and re: same (.2); begin reviewing
                   Huffard Report (.9).
3/11/14      CWD   Reviewing docket (.1); TC D. Lowenthal re            0.40        $228.00
                   3/12 hearing, OC B. Guiney re same and expert
                   depositions (.2); reviewing Milbank 2019 (.1).
3/11/14      DAL   Review emails and updates to Amendment and           4.00      $3,580.00
                   Supplement to Trial Protocol and letters to the
                   Courts (1.5); TC S. Miller re multiple March 12
                   pre-trial conference (.3); prepare for same (.8);
                   memo to J. Heaney re: filed Amendment and
                   Supplement (1.0); review updated Amendment
                   and Supplement and send to J. Heaney (.4).
3/12/14      BPG   Prepare for and monitor court conference (for        2.50      $1,725.00
                   part) (1.0); follow-up D. Lowenthal re: same
                   (.1); review Malackowski report and work on
                   summary (1.4).
3/12/14      CWD   Reviewing docket (.1); follow-up re monthly          0.40        $228.00
                   fee statement (.2); e-mails re 3/12 hearing (.1).
3/12/14      DAL   Prepare for and attend Court hearing in              9.80      $8,771.00
                   Delaware (8.5); memo to J. Heaney re same
                   (1.0); review letter from UKPC to Monitor (.3).
3/13/14      BPG   Confer D. Lowenthal and C. Dent re: hearing          1.70      $1,173.00
                   and other open issues, follow-up re: same (.4);
                   prepare for and participate on weekly
                   Committee call, follow-up re: expert
                   depositions (1.1); follow-up C. Dent re: expert
                   reports (.2).
3/13/14      CWD   E-mails re expert reports (.1); OC D.                1.30        $741.00
                   Lowenthal and B. Guiney re 3/12 hearing (.2);
                   Committee call (for part), OC D. Lowenthal
                   and B. Guiney re expert depositions (.9);
                   reviewing letter re Canadian claims mediation




6881966v.2
             Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17   Page 11 of 40


                                                                       Page 5
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/13/14      DAL Follow-up to March 12 pretrial conference (.6);       2.60       $2,327.00
                   prepare for and participate in Committee call
                   (2.0).
3/14/14      CWD Reviewing docket and Agenda for 3/18                   0.80        $456.00
                  hearing, e-mails re same w/D. Lowenthal (.1);
                  revising monthly fee statement, e-mails w/D.
                  Lowenthal re same (.3); e-mails re letters re
                  Canadian mediation (.1); TC D. Lowenthal re
                  expert deposition schedule for upcoming week
                  (.1); e-mails w/Akin re US Debtors'
                  correspondence, TC D. Lowenthal re same (.1);
                  reviewing expert deposition protocol (.1).
3/14/14      DAL Review hearing Agenda (.1); work on fee               2.40       $2,148.00
                   statement (.4); review letters from US Debtors'
                   counsel and UKPC's counsel re Canadian
                   mediation issue, and send same to J. Heaney
                   (.8); emails with Akin re Committee issues
                   (1.0); review letter from Goodmans and send to
                   J. Heaney (.1).
3/16/14      DAL Review e-mail from US Debtors counsel re              1.40       $1,253.00
                   filing on docket of letters (.1); review letter
                   from Monitor's Canadian counsel re mediation
                   issue (.2); work on fee statement (1.0); plan for
                   expert depositions (.3).
3/17/14      CWD E-mails re various case issues (.1); reviewing        0.40         $228.00
                   docket (.1); follow-up w/accounting dept. re
                   monthly fee statement, TC D. Lowenthal re
                   same (.2)
3/1 7/14     DAL     Work on fee statement (.4); e-mails with J.       3.20       $2,864.00
                     Heaney re Committee issue (1.4); review filing
                     by US Debtors re letters concerning possible
                     mediation in Canada (.1); finalize and send fee
                     statement to Law Debenture (.4); review letter
                     from UKPC counsel to J. Morawetz (.9).
3/18/14      CWD E-mails re expert depositions, including              0.60         $342.00
                   Malackowski deposition, OC D. Lowenthal re
                   same (.3); revising fee statement, e-mail to D.
                   Lowenthal re same (.1); e-mails re Antoon
                   report withdrawal, TC D. Lowenthal re same
                   (.2).



6881966v.2
             Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17   Page 12 of 40


                                                                       Page 6
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/18/14      DAL     Deposition details and preparation (1.4).          1.40      $1,253.00
3/19/14      CWD E-mails re expert depositions (.2).                    0.20        $114.00
3/19/14      DAL Attend Malackowski deposition at Cleary (9.0).         9.00      $8,055.00
3/20/14      CWD Prepare for and participate in Committee call          0.90        $513.00
                   (.6); OC D. Lowenthal re expert deposition
                   schedule (.1); TC D. Lowenthal re Order
                   amending Trial Protocol, reviewing same (.1);
                   reviewing docket (.1).
3/20/14      DAL Committee call (.5); tc K. Dine re Trial               1.30      $1,163.50
                   Protocol and related follow-up (.4); review
                   letter from CCC's counsel to Courts (.2);
                   review letter from US Debtors to J. Gross (.2).
3/21/14      CWD OC D. Lowenthal re Trial Protocol, e-mails re         0.30         $171.00
                  same from Committee (.2); reviewing docket
                  (.1).
3/21/14      DAL Review updated Trial Protocol (.2); review J.         0.40         $358.00
                   Newbould scheduling Order (.2).
3/22/14      BPG     Attention to e-mails re: Trial Protocol Order,    0.40         $276.00
                     follow-up re: same (.4).
3/24/14      BPG     Confer C. Dent re: expert depositions (.1);       0.80         $552.00
                     follow-up re: Trial Protocol Order (.2);
                     attention to submission to US court re:
                     allocation of trial time and follow-up re: same
                     (.3); confer D. Lowenthal and C. Dent re:
                     expert depositions (.2).
3/24/14      CWD OC B. Guiney re expert deposition schedule,           0.40         $228.00
                  OC D. Lowenthal re same (.3); reviewing
                  docket (.1).
3/24/14      DAL     Review US Debtors' letter to J. Gross re trial-   0.40         $358.00
                     time allocations (.4).




6881966v.2
             Case 09-10138-MFW          Doc 17958-5      Filed 02/24/17    Page 13 of 40



                                                                       Page 7
                                                                       Invoice No. 795642
                                                                       April 7, 2014
                                                                       L0353-000007


3/25/14      BPG     Review discovery-related e-mails, review letter    2.80      $1,932.00
                     to J. Newbould and follow-up (.2); attention to
                     e-mails re: EMEA settlement and follow-up
                     (.4); additional follow-up (.1); TC R. Johnson
                     re: B&C depositions, follow-up re: same (.2);
                     confer D. Lowenthal re: same (.2); review
                     Burshtein report, summarize same and follow-
                     up (1.7).
3/25/14      CWD TC B. Guiney re rebuttal expert reports (.1); e-       0.60        $342.00
                  mail from Committee re settlement proposal,
                  OC D. Lowenthal re same (.5).
3/25/14      DAL Review CCC's letter to Judge Gross and Justice         2.90      $2,595.50
                   Newbould and send to J. Heaney (.1); review e-
                   mail from F. Hodara re settlement proposal and
                   analyze same (.9); confer with C. Dent re same
                   (.4); TC F. Hodara re same (.4); e-mail update
                   to J. Heaney (.4); review Torys and Lax
                   O'Sullivan respective letters re deposition issue
                   (.2); review proposed settlement chart (.5).
3/26/14      BPG     Review e-mails and letters related to expert       7.20      $4,968.00
                     discovery (.2); monitor Berenblut deposition
                     and summary of same, confer D. Lowenthal re:
                     same (4.3); finalize and circulate Burshtein
                     summary (.2); monitor Berenblut deposition
                     (for part) (2.5).
3/26/14      CWD E-mails re expert depositions, reviewing               0.10         $57.00
                   docket, reviewing correspondence re Canadian
                   rebuttal report (.1).
3/26/14      DAL Review letter from Canadian firms to                   1.20      $1,074.00
                   Goodmans re sur-reply expert report (.3); email
                   F. Hodara re settlement issues (.1); review
                   settlement proposal (.4); review letters to J.
                   Gross (.1); email update to J. Heaney (.3).
3/27/14      BPG Prepare for weekly Committee call, review              1.90      $1,311.00
                    power point presentation, review EMEA
                    settlement materials, e-mails with R. Johnson
                    re: Berenblut deposition (.6); participate on
                    weekly Committee call and follow-up (1.3).




6881966v.2
             Case 09-10138-MFW          Doc 17958-5        Filed 02/24/17       Page 14 of 40


                                                                           Page 8
                                                                           Invoice No. 795642
                                                                           April 7, 2014
                                                                           L0353-000007


3/27/14      CWD Committee call, OC D. Lowenthal and B.                     1.50          $855.00
                  Guiney re same (1.3); reviewing docket (.2).
3/27/14      DAL     Prepare for and participate in Committee call          1.70         $1,521.50
                     (1.7).
3/28/14      BPG     Confer D. Lowenthal re: trial, depositions,             0.40         $276.00
                     follow-up re: same (.3); attention to e-mails
                     (.1).
3/28/14      DAL     Attention to depositions (.2).                         0.20          $179.00
3/30/14      CWD E-mails re exhibit designations (.1).                      0.10           $57.00
3/31/14      BPG     Attention to e-mails re: Burshtein report,              1.10         $759.00
                     Bereskin report, other discovery materials (.5);
                     confer C. Dent re: periodic update (.1); begin
                     working on status report (.5).
3/31/14      CWD OC B. Guiney re Law Debenture status report                 0.20         $114.00
                  (.1); reviewing docket (.1).
3/31/14      DAL Review letters from counsel for Core Parties re             9.30        $8,323.50
                   document disclosure issues (.3); attend Green
                   deposition (9.0).

                                                      Total Services       143.10      $115,696.50


              Daniel A Lowenthal           91.50 hours at $895.00 $81,892.50
              Brian P. Guiney              36.60 hours at $690.00 $25,254.00
              Craig W. Dent                15.00 hours at $570.00 $8,550.00


                     Filing Fees/Index Fees                                   508.00
                     Local Travel & Fares                                       9.00
                     Outside Professional Services                            262.50
                     Tvl. Transportation/Lodging                              855.64

                                                      Total Expenses                     $1,635.14


                                                      Total This Invoice            1117,331.64




6881966v.2
           Case 09-10138-MFW             Doc 17958-5        Filed 02/24/17        Page 15 of 40




                   Patterson Belknap Webb & Tyler LIP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                        Invoice No. 797955
400 Madison Avenue                                                             May 23, 2014
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                              April 30, 2014 In Connection With The Following:


4/1/14       BPG       Work on periodic report to client (2.6); review         4.30         $2,967.00
                       e-mails to Core Parties (.1); confer D.
                       Lowenthal re: Trial Protocol deadlines, review
                       protocols and attention to dates (.5); confer C.
                       Dent re: same (.2); additional follow-up re:
                       same with D. Lowenthal and e-mail Akin team
                       re: same (.4); additional follow-up re: same
                       (.2); follow-up D. Lowenthal re: identification
                       of fact witnesses, prepare letter re: same and
                       follow-up (.3).
4/1/14       CWD OC B. Guiney re allocation litigation (.2);                   0.60           $342.00
                  reviewing draft case update (.2); e-mail from
                  Committee re settlement (.1); e-mails w/Akin
                  re witness designations (.1).
4/1/14       DAL Review multiple e-mails re witness                            2.40         $2,148.00
                   designations (.6); attention to deposition issues
                   with B. Guiney (for part) (.8); letter to other
                   Core Parties (1.0).
4/2/14       BPG      Review e-mails related to depositions (.1);              1.20           $828.00
                      follow-up re: client update (.2); begin
                      reviewing McConnell report in preparation for
                      deposition (.4); prepare for and meet with D.
                      Lowenthal and C. Dent re: open issues (.3);
                      follow-up re: McConnell deposition (.2)
4/2/14       CWD OC D. Lowenthal and B. Guiney re upcoming                     0.30           $171.00
                  depositions and trial schedule (.3).
         Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17     Page 16 of 40


                                                                     Page 2
                                                                     Invoice No. 797955
                                                                     May 23, 2014
                                                                     L0353-000007


4/2/14   DAL Review e-mails by counsel for Core Parties re             2.50     $2,237.50
               depositions (.2); e-mails with E. Lamek re trial
               (.3); review and revise client update (1.7);
               confer with colleagues on upcoming
               depositions (.3)
4/3/14   BPG Prepare for weekly Committee call, review                 1.30       $897.00
                agenda and witness list (.2); participate on
                same and follow-up re: same (1.1).
4/3/14   CWD TC B. Guiney re deposition logistics (.1).                0.10        $57.00
4/3/14   DAL     Bazelon deposition (4.5); Committee call (1.0);       5.60     $5,012.00
                 e-mail J. Heaney re designation of witnesses
                 (.2).
4/4/14   BPG     Prepare for, travel to, attend and return from        9.80     $6,762.00
                 McConnell deposition (9.8).
4/4/14   CWD E-mails re expert depositions, follow-up re               1.20       $684.00
               same, OC D. Lowenthal re same, TC B. Guiney
               re same (.6); reviewing docket (.1); revising
               monthly fee statement, note to accounting
               department re same (.5).
4/4/14   DAL Follow-up re Bazelon deposition (.2); attention           2.40     $2,148.00
               to McConnell deposition, including TC with B.
               Guiney re questions at deposition (2.2).
4/7/14   BPG TC D. Lowenthal re: McConnell deposition,                 1.10       $759.00
               follow-up re: same (.6); review D. Lowenthal
               e-mail to J. Heaney re: same, follow-up re:
               same (.3); confer C. Dent re: Kinrich depo,
               follow-up re: same (.2).
4/7/14   CWD E-mails re expert depositions, OC B. Guiney re            0.60       $342.00
               same (.3); finalizing fee statement, e-mails re
               same w/D. Lowenthal (.2); reviewing status
               report (.1).
4/7/14   DAL Attention to McConnell deposition follow-up               2.30      $2,058.50
               (1.7); work on fee statement (.6).
4/8/14   BPG      Prepare for and monitor Kinrich deposition (for      6.30      $4,347.00
                  part) (4.2); continue monitoring deposition (for
                  part) (2.1).
          Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17     Page 17 of 40


                                                                     Page 3
                                                                     Invoice No. 797955
                                                                     May 23, 2014
                                                                     L0353-000007


4/8/14    CWD Monitoring Kinrich deposition (for part), OC             1.30       $741.00
               B. Guiney re same, e-mails re same (1.2);
               reviewing docket (.1).
4/8/14    DAL Work on fee statement (.1).                              0.10        $89.50
4/9/14    BPG     Follow-up D. Lowenthal re: Kinrich deposition,       0.80       $552.00
                  prepare executive summary and circulate (.5);
                  attention to letter re: McConnell deposition
                  (.1); confer C. Dent re: case e-mails (.1);
                  attention to 4/17 hearing (.1).
4/9/14    CWD E-mails re Kinrich deposition and Canadian               0.90       $513.00
                expert reports (.3); reviewing letter from UKPC
                counsel re McConnell deposition, reviewing
                protocol re same, TC B. Guiney re same (.3);
                reviewing correspondence re Burshtein report
                (.1); reviewing docket (.2); follow-up re fee
                statement (.1).
4/9/14    DAL Attention to expert reports (1.3).                       1.30     $1,163.50
4/10/14   BPG Prepare for and participate on weekly                    1.60     $1,104.00
                 Committee call, follow-up re: same (1.2);
                attention to litigation calendar and follow-up
                 re: same (.4).
4/10/14   CWD Committee call (for part), OC B. Guiney re               1.10       $627.00
               allocation litigation issues (.9); reviewing
               docket (.1); e-mails w/Akin re witness
               designations (.1).
4/10/14   DAL Review deposition summary (.1); review notes             0.20       $179.00
                and e-mails re Committee call (.1).
4/11/14   BPG     Prepare e-mail per Trial Protocol, follow-up re:     0.60       $414.00
                  same (.3); attention to materials for 4/17
                  hearing (.2); follow-up C. Dent re: open issues
                  (.1).
4/11/14   CWD E-mails re courtroom logistics and Burshstein            0.40       $228.00
                report (.1); e-mails re witness designations and
                affidavits (.2); reviewing motion to strike
                Bereskin report (.1).
           Case 09-10138-MFW          Doc 17958-5        Filed 02/24/17     Page 18 of 40


                                                                         Page 4
                                                                         Invoice No. 797955
                                                                         May 23, 2014
                                                                         L0353-000007


4/12/14    BPG Begin reviewing core party witness                         2.10      $1,449.00
                 designations, and attention to affidavits (1.3);
                 review Canadian Debtors' motion to strike
                 Bereskin report (.8).
4/12/14    CWD E-mails re trial logistics and Committee call              0.30        $171.00
                 (.1); e-mails re trial witness designations (.2).
4/14/14    BPG     Continue reviewing fact witness affidavits,            2.30      $1,587.00
                   follow-up re: same (.9); attention to e-mails re:
                   trial protocol, follow-up re: same (.3); finish
                   reviewing affidavits, attention to trial-related e-
                   mails, follow-up re: same (1.1).
4/14/14    CWD OC B. Guiney re trial designations and expert              0.30        $171.00
                cross-examinations (.2); reviewing docket (.1).
4/15/14    BPG     Attention to e-mails from Monitor, review              2.00      $1,380.00
                   Factum and related materials for 4/22 hearing
                   (.7); follow-up re: CGSH request to change
                   motion deadline (.3); additional follow-up re:
                   same, attention to additional e-mails (.2);
                   attention to additional e-mails, follow-up re:
                   extension of time, follow-up re: 4/17 and 4/22
                   hearings (.4); review objection to motion to
                   shorten and follow up re: same (.4).
4/1 5/14   CWD E-mails re pre-trial motion schedule, OC B.                0.40        $228.00
                 Guiney re same (.2); reviewing docket and
                 Agenda re 4/17 hearing (.1).
4/15/14    DAL     Attention to Trial Protocol issues (.2).               0.40        $358.00
                   Attention to UST letter (.2).
4/16/14    BPG     Review reply in support of motion to shorten           1.10        $759.00
                   (.2); review additional e-mails re: hearing,
                   other issues (.2); follow-up M. Fagen and J.
                   Heaney re: Committee call (.1); confer C. Dent
                   re: hearing (.1); follow-up re: same (.1);
                   attention to order denying motion to shorten,
                   follow-up re: same (.2); attention to e-mails re:
                   hearing, discovery, other pre-trial issues (.2).
          Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17      Page 19 of 40



                                                                        Page 5
                                                                        Invoice No. 797955
                                                                        May 23, 2014
                                                                        L0353-000007


4/16/14   CWD Reviewing motions and response re Bereskin                 0.70        $399.00
               and Stratton reports (.2); e-mails from
               Committee re hearing and call, TC B. Guiney
               re same (.2); reviewing e-mails and letter re
               McConnell report (.1); reviewing docket (.2).
4/17/14   BPG     Review letter re courtroom logistics, follow-up        5.30      $3,657.00
                  re: same (.2); prepare list of trial dates per D.
                  Lowenthal, follow-up re: same (1.1); monitor
                  joint hearing and follow-up re: same (2.1);
                  prepare for and participate on weekly
                  Committee call, follow-up re: same (.6); draft
                  and send update to D. Lowenthal (.6); review
                  draft motion to strike (.7).
4/17/14   CWD Reviewing letters re trial logistics and exhibit           2.30      $1,311.00
               lists (.1); monitoring hearing (for part), OC B.
               Guiney re same (1.5); Committee call, OC B.
               Guiney re same (.5); OC B. Guiney re trial
               schedule (.2).
4/18/14   CWD Reviewing letters re pre-trial disclosures (.2).           0.20        $114.00
4/19/14   CWD E-mails re pre-trial motions (.2).                         0.20        $114.00
4/21/14   BPG     Attention to e-mails, designations, other trial        2.80      $1,932.00
                  and discovery related matters (.4); confer C.
                  Dent re: open issues (.2); follow-up A.
                  Hanrahan re: UKPC designations (.2); review
                  revised motion to strike (.5); confer a
                  Lowenthal re: pre-trial conference, other open
                  issues, follow-up re: same (.4); confer C. Dent
                  re: trial issues, pre-trial conference (.2); review
                  UKPC designations of McConnell testimony,
                  follow-up re: same (.7); follow-up D.
                  Lowenthal re: same, confer A. Qureshi re: same
                  (.2).
          Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17     Page 20 of 40


                                                                       Page 6
                                                                       Invoice No. 797955
                                                                       May 23, 2014
                                                                       L0353-000007


4/21/14   CWD OC B. Guiney re expert designations and trial,            1.80      $1,026.00
               follow-up re same (.8); OC D. Lowenthal re
               same (.2); reviewing Canadian Debtors' outline
               re pre-trial conference, e-mails re same w/B.
               Guiney (.3); reviewing Canadian Debtors'
               motion re EMEA expert reports (.1); reviewing
               letter from Canadian Debtors re bond claims, e-
               mails re same w/D. Lowenthal (.1); reviewing
               letters and motions to strike expert reports (.3).
4/21/14   DAL Review Agenda and letters filed with the                  3.80      $3,401.00
                Courts re April 22 pretrial conference and
                attention to issues to be considered pre-trial
                (3.2); prepare for hearing (.6).
4/22/14   BPG     Follow-up D. Lowenthal re: hearing, deliver           2.30      $1,587.00
                  Trial Protocol notice and follow-up, confer C.
                  Dent re: open issues, letter re: bond claims (.5);
                  attention to various motions in limine (1.1);
                  attention to misc. e-mails re: Trial Protocol,
                  discovery and other issues (.3); review
                  summary of pre-trial hearing, follow-up re:
                  same (.2); e-mails with D. Lowenthal and C.
                  Dent re: open items, agenda for meeting (.2)
4/22/14   CWD E-mails re motions in limine and bond claims              0.70        $399.00
                letter from Canadian Debtors, OC B. Guiney re
                same (.5); OC D. Lowenthal re hearing, e-mails
                re same (.2).
4/22/14   DAL Prepare for and attend Court hearing and                  8.00      $7,160.00
                related follow-up (8.0).
4/23/14   BPG     Confer C. Dent re: open issues, review e-mails        2.80      $1,932.00
                  and prepare for meeting with D. Lowenthal
                  (.5); confer D. Lowenthal and C. Dent re: trial
                  issues, follow-up re: same (1.5); attention to e-
                  mails (.2); prepare staffing template, confer C.
                  Dent and D. Lowenthal re: same (.6).
           Case 09-10138-MFW          Doc 17958-5        Filed 02/24/17     Page 21 of 40



                                                                         Page 7
                                                                         Invoice No. 797955
                                                                         May 23, 2014
                                                                         L0353-000007


4/23/14     CWD E-mails re pre-trial motions and trial exhibits           3.10      $1,767.00
                  (.1); OC B. Guiney re trial schedule and related
                  matters (.3); reviewing docket (.1); preparing
                  for and meeting w/D. Lowenthal and B. Guiney
                  re trial schedule, pre-trial briefs and logistics,
                  follow-up re same w/J. Stam and A. Cordo
                  (2.6).
4/23/14     DAL     Work on pretrial brief (1.0); strategy session re     2.90      $2,595.50
                    trial preparation with B. Guiney and C. Dent
                    (1.5); TC BNYM's counsel re trial preparation
                    and follow-up (.4).
4/24/14     BPG     Review materials for weekly Committee call,           2.10      $1,449.00
                    attention to e-mails (.3); work on letter (.3);
                    participate on Committee call and follow-up re:
                    same (.9); follow-up re: letter (.1); attention to
                    e-mails (.1); begin working on opening brief/
                    joinder (.4)
4/24/1 4   CWD Committee call, OC D. Lowenthal and B.                     1.00        $570.00
                Guiney re letter to Canadian Debtors (.9);
                reviewing draft letter to Canadian Debtors' re
                bonds (.1).
4/24/14    DAL      Committee call (1.1); e-mail counsel re pre-trial     4.20      $3,759.00
                    briefs (1.3); letter to counsel re bond claims
                    (1.0); review brief re motion to exclude expert
                    report (.8); review US Debtors' e-mail re
                    courtroom logistics (.1).
4/25/14    BPG      Attention to e-mails, other open issues, follow-      0.50        $345.00
                    up re: joinder (.5).
4/25/14    CWD E-mails re expert designations, trial logistics,           0.20        $114.00
                 and response affidavits (.2)
4/25/14    DAL      E-mails with professionals re possible call (.1);     0.70        $626.50
                    TC re bond claims (6).
4/27/14    CWD TC B. Guiney re pre-trial joinder and pre-trial            0.20        $114.00
                motions (.2).
          Case 09-10138-MFW           Doc 17958-5           Filed 02/24/17    Page 22 of 40


                                                                          Page 8
                                                                          Invoice No. 797955
                                                                          May 23, 2014
                                                                          L0353-000007


4/28/14   BPG     Review materials filed and served on April 25            2.40        $1,656.00
                  deadline, follow-up re: same (1.2); additional
                  follow-up re: joinder, next steps, confer C.
                  Dent and D. Lowenthal re: same (.4); review
                  response to motion in limine (.5); TC D.
                  Lowenthal re: trial staffing, other open issues
                  (.3)
4/28/14   CWD E-mails re pre-trial motions, OC D. Lowenthal                0.30         $171.00
                and B. Guiney re same (.2); reviewing docket
                (.1).
4/28/14   DAL     Attention to trial brief and related issues (.6);        1.50        $1,342.50
                  confer with B. Guiney and C. Dent re same
                  (.3); review draft brief (.6).
4/29/14   BPG     Attention to responses to motions in limine,             1.90        $1,311.00
                  other open issues (1.3); review e-mails related
                  to discovery and pre-trial issues (.2); attention
                  to R. Johnson e-mail re: objection (.2); confer
                  D. Lowenthal and C. Dent re: open trial,
                  briefing and other open issues (.2).
4/29/14   CWD OC D. Lowenthal and B. Guiney re pre-trial                   0.20         $114.00
               brief (.2).
4/29/14   DAL     Attention to pre-trial brief (.6).                       0.60         $537.00
4/30/14   BPG     Review US interests' motion to strike Canadian           1.30         $897.00
                  exhibit/deposition objections (.4); attention to
                  e-mails (.1); TC A. Qureshi re: open issues,
                  follow-up re: same (.3); update D. Lowenthal
                  and C. Dent re: same and follow-up (.3); confer
                  D. Lowenthal re: bondholder brief, follow-up
                  re: same (.2).
4/30/14   CWD E-mails re trial witnesses, TC B. Guiney and D.              0.40         $228.00
                Lowenthal re same and trial logistics (.4).

                                                       Total Services    113.60       $84,102.50


           Daniel A. Lowenthal           38.90 hours at          $895.00 $34,815.50
           Brian P. Guiney               55.90 hours at          $690.00 $38,571.00
           Craig W. Dent                 18.80 hours at          $570.00 $10,716.00
Case 09-10138-MFW      Doc 17958-5         Filed 02/24/17      Page 23 of 40


                                                            Page 9
                                                            Invoice No. 797955
                                                            May 23, 2014
                                                            L0353-000007




       Outside Professional Services                          155.00
       Tvl. Transportation/Lodging                            929.10

                                       Total Expenses                   $1,084.10


                                       Total This Invoice              $851186.6Q
               Case 09-10138-MFW             Doc 17958-5         Filed 02/24/17       Page 24 of 40




                      Patterson Belknap Webb &Tiler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

 Law Debenture Trust Company of New York                                          Invoice No. 800039
 400 Madison Avenue                                                               June 17, 2014
 New York, NY 10017                                                               FEI No. XX-XXXXXXX

 Re: NORTEL                                                                       L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                                 May 31, 2014 In Connection With The Following:


5/1/14          BPG      Review bondholder draft brief (1.1); confer C.            6.70        $4,623.00
                         Dent, D. Lowenthal re: draft joinder, follow-up
                         re: same (.4); prepare for and participate on
                         committee call, follow-up re: same (.6); tc D.
                         Lowenthal re: same and re: brief (.3); begin
                         reviewing Akin/Cleary brief (1.6); work on
                         joinder (2.3); TCs R. Johnson and A. Miller re:
                         same, follow-up re: same (.4).
5/1/14          CWD E-mails re trial witnesses (2).                                0.20          $114.00
5/2/14          BPG      Continue reviewing opening brief (.9); tc D.              1.90        $1,311.00
                         Lowenthal re: joinder, confer C. Dent re: same,
                         revise same (.7); follow-up re: same, send to D.
                         Lowenthal (.3).
5/2/14          CWD OC B. Guiney re joinder, reviewing same (.5);                  0.70          $399.00
                     e-mails re trial logistics (.2).
5/2/14          DAL      Draft pre-trial brief (1.3).                              1.30 ,      $1,163.50
5/3/14          BPG      Tc D. Lowenthal re: joinder, trial, other open            0.70          $483.00
                         issues (.4); revise joinder and follow-up re:
                         same (.3).
5/4/14          BPG      E-mails re: joinder, trial and logistics re: same         1.20          $828.00
                         (.3); continue reviewing opening briefs of all
                         core parties (.9).
5/4/14          DAL      Draft pre-trial brief (2.3); review briefs filed by       2.60        $2,327.00
                         other Core Parties (.3).




7004500v.1
             Case 09-10138-MFW           Doc 17958-5      Filed 02/24/17   Page 25 of 40


                                                                       Page 2
                                                                       Invoice No. 800039
                                                                       June 17, 2014
                                                                       L0353-000007


 5/5/14      BPG   Continue reviewing opening briefs (.8); OC D.        3.50      $2,415.00
                   Lowenthal re: trial, joinder, other open issues
                   (.9); confer D. Lowenthal re: Akin proposed
                   changes to joinder, revise same (.6); follow-up
                   re: same (.2); follow-up re: logistics, TC A.
                   Cordo re: same, multiple e-mails and TCs re:
                   same (.8); follow-up D. Lowenthal re: joinder
                   (.2).
5/5/14       CWD   E-mails re joinder (.2).; leave message for A.       0.30        $171.00
                   Cordo re courtroom logistics (.1).
5/5/14       DAL   Pre-trial work, including revisions to pre-trial     4.90      $4,385.50
                   brief, confer with B. Guiney, emails with S.
                   Miller, E. Lamek, Milbank, Akin and Cleary, tc
                   F. Hodara, and M. Riela (4.9).
5/6/14       BPG   Attention to e-mails regarding joinder, trial        1.00        $690.00
                   logistics; review and revise joinder and follow-
                   up D. Lowenthal re: same (.5); additional
                   follow-up re: same, confer D. Lowenthal re:
                   next steps (.4); confer A. Cordo re: courtroom
                   testing (.1).
5/6/14       CWD   E-mails re joinder, reviewing same (.3); e-mails     0.50        $285.00
                   re trial witnesses and motion practice (.2).
5/6/14       DAL   Work on pre-trial brief, including emails with       3.60      $3,222.00
                   S. Miller, E. Lamek, J. Rosenthal (2.8); review
                   pre-trial briefs (.8).
5/7/14       BPG   Tc D. Lowenthal and E. Lamek, follow-up re:          1.50      $1,035.00
                   trial logistics (.7); TC D. Lowenthal and S.
                   Miller re: trial logistics, follow-up re: same
                   (.8).
5/7/14       CWD   E-mails re pre-trial motion practice (.2).           0.20        $114.00
5/7/14       DAL   Attention to trial logistics (1.3).                  1.30      $1,163.50
5/8/14       BPG   Monitor pre-trial hearing (for part), confer D.      1.10        $759.00
                   Lowenthal re: same (.6); follow-up D.
                   Lowenthal re: same (.1); attention to e-mails re:
                   trial logistics, coordinate travel to DE (.4)
5/8/14       CWD   E-mails re trial schedule (.1).                      0.10         $57.00




7004500v.I
             Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17   Page 26 of 40


                                                                       Page 3
                                                                       Invoice No. 800039
                                                                       June 17, 2014
                                                                       L0353-000007


 5/9/14      BPG   Participate on weekly call (for part) follow-up      1.40        $966.00
                   re: same (.7); follow-up re: same, follow-up re:
                   trial logistics (.3); confer D. Lowenthal re:
                   development (.4).
 5/9/14      DAL   Court hearing (1.5); tc D. Botter and M. Riela       1.90      $1,700.50
                   re case issues (.4).
5/11/14      BPG   Travel to Wilmington for allocation trial (2.5).     2.50      $1,725.00
5/11/14      DAL   Trial preparation (2.6).                             2.60      $2,327.00
5/12/14      BPG   Prepare for, attend, return from allocation trial   10.50      $7,245.00
                   (10.5).
5/12/14      CWD   E-mails re trial (.2).                               0.20        $114.00
5/12/14      DAL   Trial and follow-up analysis with colleagues         2.00      $1,790.00
                   and Committee counsel (2.0).
5/13/14      BPG   Monitor opening statements (for part), attention     1.80      $1,242.00
                   to e-mails, follow-up C. Dent re: trial (.8);
                   prepare for and participate on weekly call,
                   follow-up re: same (1.0).
5/13/14      CWD   E-mails re Nortel hearing schedule, OC B.            1.50        $855.00
                   Guiney re same (.2); follow-up re 5/16 hearing
                   date (.1); reviewing Capstone presentation re
                   Ad Hoc Group's proposal (.3); Committee call
                   (9).
5/13/14      DAL   Prepare for opening and attend allocation trial      8.50      $7,607.50
                   (8.5).
5/14/14      BPG   Obtain witness affidavits per D. Lowenthal          0.50         $345.00
                   (.1); attention to e-mails, updates re: trial,
                   coordinate 5/15 trip to DE (.4).
5/14/14      CWD   OC B. Guiney re trial logistics (.2); reviewing     0.40         $228.00
                   docket (.2).
5/14/14      DAL   Attend allocation trial (7.0).                       7.00      $6,265.00
5/15/14      BPG   Travel to, attend, and return from allocation       9.80       $6,762.00
                   trial (9.8).
5/15/14      CWD   E-mails re Nortel trial w/B. Guiney (.2);           0.70         $399.00
                   reviewing docket (.1); reviewing trial transcript




7004500v.1
                Case 09-10138-MFW            Doc 17958-5        Filed 02/24/17   Page 27 of 40


                                                                            Page 4
                                                                            Invoice No. 800039
                                                                            June 17, 2014
                                                                            L0353-000007


   5/16/14     BPG Confer D. Lowenthal and C. Dent re: open                  0.60        $414.00
                     issues, follow-up re: same (.5); additional
                     follow-up C. Dent re: same (.1).
   5/16/14     CWD Meeting w/D. Lowenthal and B. Guiney re trial             1.20        $684.00
                    issues (.6); reviewing docket, follow-up re trial
                    transcripts (.3); revising monthly fee statement,
                    note to accounting department re same (.3).
   5/16/14     DAL Review updated list of fact witnesses (.2);               1.10        $984.50
                     analyze trial issues with B. Guiney and C. Dent
                     (for part) (.9).
• 5/19/14      BPG      Attention to e-mails re: open issues, trial (.2);   0.40         $276.00
                        confer D. Lowenthal re: same (.2).
  5/20/14      BPG Correspondence with D. Lowenthal re: support              1.80      $1,242.00
                     agreement, monitor allocation trial (for part)
                     (.5); review EMEMUKPC witness statements
                     for Thursday's testimony (1.0); attention to e-
                     mails re: allocation trial (.1); tc D. Lowenthal
                     re: staffing, open issues (.2).
  5/20/14      CWD Reviewing docket (.1); e-mails vita Lowenthal            0.30         $171.00
                    re trial and proofs of claim (.1); e-mails re trial
                    schedule (.1).
  5/20/14      DAL     Attend allocation trial (8.5).                        8.50      $7,607.50
  5/21/14      BPG     Attention to e-mails, prepare for and coordinate     0.30         $207.00
                       travel to hearing (.3).
  5/21/14      CWD Emails re trial, follow-up re same (.2)                   0.20        $114.00
  5/21/14      CWD Reviewing docket, e-mails w/D. Lowenthal re              0.10          $57.00
                    trial (.1).
  5/21/14      DAL Attend allocation trial (8.00); summary to                8.40      $7,518.00
                     colleagues (.4).
  5/22/14      BPG Travel to, attend and return from Nortel                  6.50      $4,485.00
                     hearing, follow-up re: same, coordinate re:
                     same (6.5). •
  5/22/14      CWD Participate on Committee call, emails re same             1.40        $798.00
                     w/D. Lowenthal and B. Guiney (1.1); emails re
                     allocation trial (.2); TC B. Guiney re hearing
                     schedule (.1).




  7004500v.I
             Case 09-10138-MFW             Doc 17958-5      Filed 02/24/17      Page 28 of 40



                                                                            Page 5 .
                                                                            Invoice No. 800039
                                                                            June 17, 2014
                                                                            L0353-000007


 5/23/14     BPG    TC D. Lowenthal and C. Dent re: staffing and             0.30         $207.00
                    trial (.3).
 5/23/14     CWD   OC D. Lowenthal re trial issues and Committee             0.60         $342.00
                   call (.2); reviewing docket (.1); finalizing fee
                   statement, OC D. Lowenthal re same (.3).
 5/23/14     DAL   Work on fee statement (.4); confer with B.                1.20       $1,074.00
                   Guiney and C. Dent re trial issues (.8).
 5/27/14     CWD   E-mails re Clark/Westbrook settlement and trial           0.20        $114.00
                   issues (.1); reviewing docket (.1).
 5/27/14     DAL   Review emails re upcoming trial issues and                0.50        $447.50
                   logistics (.5).
5/28/14      DAL   Attend allocation trial (10.3).                         10.30        $9,218.50
5/29/14      BPG   Tc D. Lowenthal, C. Dent re: hedge, UCC call              1.10        $759.00
                   (.2); attention to e-mails re: allocation trial (.1);
                   follow-up re: staffing (.1); prepare for and
                   participate on Norte' UCC call (.7).
5/29/14      CWD   Emails re trial (.1).                                     0.10         $57.00
5/29/14      DAL   Attend allocation trial and related follow-up             8.10       $7,249.50
                   (8.1).
5/30/14      DAL   Attend allocation trial (9.0).                            9.00       $8,055.00

                                                     Total Services        146.80     $117,198.00


             Daniel A Lowenthal             82.80 hours at       $895.00 $74,106.00
             Brian P. Guiney                55.10 hours at       $690.00 $38,019.00
             Craig W. Dent                   8.90 hours at       $570.00 $5,073.00




7004500v.1
              Case 09-10138-MFW      Doc 17958-5        Filed 02/24/17      Page 29 of 40


                                                                        Page 6
                                                                        Invoice No. 800039
                                                                        June 17, 2014
                                                                        L0353-000007




                   Local Travel & Fares                                    402.91
                   Outside Professional Services                         1,320.00
                   Reproduction                                              1.50
                   Tvl - Meals                                             202.25
                   Tvl. Transportation/Lodging                           2,517.41

                                                   Total Expenses                   $4,444.07


                                                   Total This Invoice           1121,642.07




7004500v. I
            Case 09-10138-MFW             Doc 17958-5        Filed 02/24/17       Page 30 of 40




                   Patterson Belknap Webb & Tyler UP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                        Invoice No. 801900
400 Madison Avenue                                                             July 16, 2014
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                               June 30, 2014 In Connection With The Following:


6/2/14       BPG       Attention to e-mails re: trial, coordinate for           0.70          $483.00
                       Thursday and Friday (.2); review e-mails re:
                       order of witnesses (.2); begin reviewing expert
                       reports for June 5 and 6 (.3).
6/2/14       DAL       Attend allocation trial and related follow-             11.80       $10,561.00
                       up(11.6); TC A. LeBlanc re update on
                       developing issues (.2).
6/3/14       BPG       Attention to transcript (.1); other trial updates        0.60          $414.00
                       (.1); OC D. Lowenthal and C. Dent re: trial,
                       open issues (.4).
6/3/14       DAL Memo to J. Heaney re update on talks with                      0.80           $716.00
                  bondholders' counsel (.3); update on trial with
                  colleagues (.5).
6/4/14       BPG       Coordinate logistics for trial attendance, confer        3.50         $2,415.00
                       D. Lowenthal re: settlement issues, review e-
                       mails re: same, follow-up re: order of witnesses
                       (.5); prepare for and participate on Committee
                       call, follow-up re: same (.7); update D.
                       Lowenthal re: same and follow-up (.2); travel
                       to Wilmington, DE for hearing (2.1).
6/5/14       BPG       Attend Nortel allocation trial (morning session)         6.70         $4,623.00
                       (3.5); attend Nortel allocation trial (afternoon
                       session) (3.2).
6/5/14       DAL Review email from J. Gross re case conference                  0.30           $268.50
                   and forward to Law Debenture (.3).
          Case 09-10138-MFW        Doc 17958-5        Filed 02/24/17     Page 31 of 40


                                                                     Page 2
                                                                     Invoice No. 801900
                                                                     July 16, 2014
                                                                     L0353-000007


6/6/14    BPG    Attend allocation trial (3.6); return travel from     7.10     $4,899.00
                 same (3.3); e-mails re: chambers conference
                 (.2).
6/6/14    DAL    Attend allocation trial (5.7).                        5.70     $5,101.50
6/9/14    BPG    Prepare for and participate on conf. call,            1.60     $1,104.00
                 follow-up D. Lowenthal re: same, follow-up C.
                 Dent re: same (1.6).
6/9/14    CWD    Reviewing docket (.1).                                0.10        $57.00
6/9/14    DAL    Memo re court conference (1.3); work on               6.20     $5,549.00
                 settlement issues in advance of conference with
                 US professionals (1.4); settlement conference
                 and follow-up (3.5).
6/10/14   BPG    Confer D. Lowenthal re: settlement                    0.50       $345.00
                 discussions, follow-up re: same (.4); e-mails re:
                 same (.1).
6/10/14   DAL    Review settlement scenarios prepared by               1.10       $984.50
                 Capstone (.8); attention to settlement issues
                 (.3).
6/11/14   BPG    TC re: settlement issues wit D. Botter, D.            0.50       $345.00
                 Lowenthal, C. Kearns and M. Riela, follow-up
                 D. Lowenthal re: same (.5).
6/11/14   DAL    Attention to settlement, including TC with            3.90     $3,490.50
                 Akin and Vedder (1.5); attention to trial
                 preparation, including review of US expert
                 reports (2.4).
6/12/14   BPG    Prepare for and participate on weekly                 1.80     $1,242.00
                 Committee call and follow-up D. Lowenthal re:
                 same (1.2); follow-up re: McConnell
                 deposition, trial preparation (.4); follow-up D.
                 Lowenthal re: same (.1); follow-up A. Qureshi
                 re: same and schedule call (.1).
6/12/14    CWD   Follow-up re McConnell expert report, TC B.           0.60       $342.00
                 Guiney re same, e-mails w/Akin re same (.4);
                 TC D. Lowenthal re trial schedule, follow-up re
                 same, OC same re same (.2).
          Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17     Page 32 of 40



                                                                       Page 3
                                                                       Invoice No. 801900
                                                                       July 16, 2014
                                                                       L0353-000007


6/12/14   DAL Memo to J. Heaney re settlement update (.8);              4.40      $3,938.00
               trial preparation, including review of expert
                reports re US case, focus on McConnell
               testimony, and order of witnesses (2.5);
               attention to settlement update with Akin and
               colleagues (for part) (.5); assist J. Heaney with
               Committee issue re same (.2); TC S. Miller re
               settlement discussion update and upcoming
               witnesses slated for trial (.4).
6/13/14   BPG     Follow-up re: McConnell expert report (.2);           1.30        $897.00
                  confer D. Lowenthal re: trial staffing, logistics
                  re: same (.2); TC D. Lowenthal and E. Lamek
                  re: McConnell testimony, follow-up re: same
                  (.6); TC J. Sorkin and J. Yecies re: McConnell,
                  follow-up re: same (.3).
6/13/14   DAL Work on settlement, including emails with J.              1.50      $1,342.50
               Heaney, A. LeBlanc, and Akin (.2); prepare for
               trial next week (.4); TC D. Crichlow re
               settlement talks (.2); email re same (.1); TC E.
               Lamek and B. Guiney re trial witness
               preparation (.6); TC Akin, E. Lamek, and B.
               Guiney re McConnell preparation (.5).
6/15/14   DAL Work on settlement re Judges' request re                  1.40      $1,253.00
               settlement amounts (1.1): review CCC and
               UKP offers to settle (.3).
6/16/14   BPG     Travel to, prepare for and attend allocation trial    7.00       $4,830.00
                  (7.0).
6/16/14   DAL     Attend Court conference and allocation trial          9.00       $8,055.00
                  (8.8); work on fee statement (.2).
6/17/14   BPG     Prepare for, attend and return from allocation       10.80       $7,452.00
                  trial (10.8).
6/17/14   DAL     Attention to trial issues, including multiple e-      1.40       $1,253.00
                  mails with B. Guiney re witness testimony (.8);
                  finalize fee statement and send to J. Heaney
                  (.2); TC B. Guiney re trial and other case issues
                  (.4).
          Case 09-10138-MFW         Doc 17958-5       Filed 02/24/17     Page 33 of 40


                                                                     Page 4
                                                                     Invoice No. 801900
                                                                     July 16, 2014
                                                                     L0353-000007


6/18/14   BPG     Confer with D. Lowenthal, attention to PPI          3.50      $2,415.00
                  issues, work on draft pleading re: same (2.3);
                  additional follow-up re: same and re: law of the
                  case (.9); review demonstrative for UKPC cross
                  and follow-up (.2); review McConnell, Ryan
                  demonstratives (.1).
6/18/14   CWD E-mails and follow-up re WT PPI motion, OC              1.10        $627.00
                B. Guiney re same (.9); e-mails re McConnell
                testimony and exhibits (.2).
6/18/14   DAL     Attend allocation trial (12:0); work on response   13.50     $12,082.50
                  to request that Court reconsider PPI ruling
                  (1.5).
6/18/14   TK      Confer with D. Lowenthal and B. Guiney re           0.30        $199.50
                  allocation trial and PPI issues (.3).
6/19/14   BPG     Work on submission to Courts (1.1); multiple         7.50     $5,175.00
                  e-mails re: same, research re: same, continue
                  revising same (1.7); additional e-mails about
                  and research re: same (.6); follow-up e-mails
                  and continue working on same (.8); e-mails
                  with D. Lowenthal re: changes to draft (.4);
                  continue revising same, e-mails and TCs D.
                  Lowenthal re: same, confer E. Lamek re: same,
                  circulate final draft to U.S. parties, follow-up
                  re: same (1.8); additional follow-up an e-mails
                  re: same (.4); attention to Akin/Milbank draft,
                  multiple e-mails re: same (.7).
6/19/14   CWD E-mails re PPI response, follow-up re same,              2.80     $1,596.00
                reviewing same (1.3); reviewing Capstone
                presentation in preparation for Committee call,
                participating in same, e-mails re same w/D.
                Lowenthal and B. Guiney (1.1); call
                w/Committee, bondholders and the US Debtors
                re draft responses (.4).
6/19/14   DAL     Attend allocation trial (9.5); work on response    13.50     $12,082.50
                  to request for reconsideration of PPI (4.0).
6/19/14   TK      Confer with D. Lowenthal and B. Guiney re            0.10        $66.50
                  allocation trial and PPI issues (.1).
          Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17     Page 34 of 40



                                                                       Page 5
                                                                       Invoice No. 801900
                                                                       July 16, 2014
                                                                       L0353-000007


6/20/14   BPG     Review revised pleading, multiple e-mails re:         2.70      $1,863.00
                  same (.7); begin reviewing PPI brief and
                  follow-up D. Lowenthal re: same (.3);
                  additional e-mails and follow-up re: same (.5);
                  work on quarterly update (1.0); OC D.
                  Lowenthal re: allocation client trial, open issues
                  (.2).
6/20/14   DAL     Finalize letter to Judges (1.0); attend allocation    8.50      $7,607.50
                  trial (7.5).
6/23/14   BPG     Review submissions to court on PPI issues,            2.00      $1,380.00
                  follow-up re: same, follow-up re: logistics (.5);
                  monitor McConnell testimony, for part (.4);
                  follow-up D. Lowenthal re: same, confer C.
                  Dent re: same (.3); monitor allocation trial, for
                  part (.8).
6/23/14   DAL     Attend allocation trial (7.5).                        7.50      $6,712.50
6/24/14   BPG Review e-mail from E. Lamek (.1); follow-up               2.20      $1,518.00
                re; PPI, monitor testimony for part (.3); follow-
                up re: Committee call (.1); follow-up D.
                Lowenthal re: PPI issue, begin updating brief
                re: same (1.1); follow-up re: same (.2); TC D.
                Lowenthal re: hearing, re: briefing schedule
                (.4).
6/24/14   CWD E-mails re trial, reviewing transcript (.3).              0.30        $171.00
6/24/14   DAL Attend allocation trial and related follow-up             9.00      $8,055.00
                (9.0).
6/25/14   BPG     Review e-mails (.1); follow-up re: briefing           0.20        $138.00
                  schedule (.1).
6/25/14   DAL TC Committee counsel re possible PPI briefing             0.10         $89.50
                schedule (.1).
6/26/14   BPG     Review e-mails re: briefing schedule (.1);            0.80        $552.00
                  confer D. Lowenthal re: PPI and briefing and
                  follow-up re: same (.5); follow-up same re:
                  same and attention to e-mails re: same (.2).
6/26/14   CWD Reviewing bond pricing report, e-mails re same            0.70        $399.00
               w/B. Guiney (.2); e-mails re 6/27 Court
               conference, TC B. Guiney and D. Lowenthal re
               same (.4); reviewing docket (.1).
          Case 09-10138-MFW          Doc 17958-5        Filed 02/24/17     Page 35 of 40


                                                                       Page 6
                                                                       Invoice No. 801900
                                                                       July 16, 2014
                                                                       L0353-000007


6/26/14   DAL     Work on scheduling and PPI briefing (5.6).             5.60     $5,012.00
6/27/14   BPG     Participate on pre-call re hearing, re PPI issues,     4.90     $3,381.00
                  monitor chambers conference, follow-up D.
                  Lowenthal and C. Dent re: same, OC L. Russo
                  and C. Dent re: same, work on notice to
                  holders, work on PPI brief (3.6); tc D.
                  Lowenthal, follow-up C. Dent re: same (.6);
                  OC L. Russo re: research, follow-up re: same,
                  review case law (.7).
6/27/14   CWD Monitoring Court conference, OC B. Guiney re               2.00     $1,140.00
               same, TC D. Lowenthal re same (1.3); follow-
               up re same (.3); reviewing and revising notice
               to holders, e-mails re same w/D. Lowenthal and
               B. Guiney, e-mail to J. Heaney re same (.4).
6/27/14   DAL Prepare for and participate in Court                       7.40     $6,623.00
                teleconference (.9); related follow-up (.9);
                outline schedule for counsel in Delaware and
                Canada (.2); memo to J. Heaney (.8); leave
                detailed message for holder's counsel re
                briefing schedules and TC and emails with
                holder's counsel re same (.4); coordinate with
                BNYM's US and Canadian counsel, including
                conf. calls re same (1.9); work on brief (2.3).
6/29/14   BPG     Research re: no-call (1.7); TC D. Lowenthal re:        2.70     $1,863.00
                  brief and other open issues (1.0).
6/29/14   DAL     Work on interest issues (1.1).                         1.10       $984.50
6/30/14   BPG     Research re: post-petition interest, follow-up L.      2.80     $1,932.00
                  Russo re: same and certain cases (1.4);
                  continue reviewing case law re: no-call (.6);
                  revise notice to holders and follow-up (.3) TC
                  D. Lowenthal and C. Dent re: briefing, follow-
                  up re: same with C. Dent (.5).
6/30/14   DAL Work on interest issues, including TCs with A.             1.00       $895.00
               LeBlanc and colleagues, revising notice to
               holders, and review e-mails from Canadian
               counsel (1.0).
Case 09-10138-MFW       Doc 17958-5         Filed 02/24/17       Page 36 of 40



                                                              Page 7
                                                              Invoice No. 801900
                                                              July 16, 2014
                                                              L0353-000007


                                        Total Services       194.10       $156,520.50


  Daniel A Lowenthal       114.70 hours at        $895.00      $102,656.50
  Brian P. Guiney           71.40 hours at        $690.00       $49,266.00
  Todd Keithley              0.40 hours at        $665.00          $266.00
  Craig W. Dent              7.60 hours at        $570.00        $4,332.00


        Lexis Electronic Research                                 55.10
        Local Travel & Fares                                     265.19
        Outside Professional Services                          1,482.00
        Reproduction                                               2.65
        Tvl. Transportation/Lodging                            4,507.66

                                        Total Expenses                      $6,312.60


                                        Total This Invoice                $162,833,10,
            Case 09-10138-MFW             Doc 17958-5         Filed 02/24/17       Page 37 of 40




                    Patterson Belknap Webb & Tiller ,.LP
          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                         Invoice No. 804007
400 Madison Avenue                                                              August 20, 2014
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                               July 31, 2014 In Connection With The Following:


7/1/1 4       BPG       Confer D. Lowenthal re: briefing (.2); review           1.40           $966.00
                        Indenture, Prospectus and Prospectus
                        Supplement, follow-up C. Dent re: same (.8);
                        TC D. Lowenthal re: open issues (.1); review
                        and follow-up re: C. Dent e-mails and e-mails
                        re: components of claim (.3).
7/1/14        CWD E-mails re notice to holders (.1); follow-up re               2.10         $1,197.00
                    Indenture and offering documents, e-mails re
                    same, OC B. Guiney re same, TC JC Lanza re
                    same (2.0).
7/1/14        DAL Attention to PPI briefing, including TC with J.                0.30          $268.50
                    Tecce (.3).
7/1/14        JCL       Review of e-mail correspondence and vmails;              1.80        $1,251.00
                        conf. call w/ C. Dent re: review of precedent
                        materials and need to analyze claim positions;
                        began review of Prospectus Supplement and
                        Indenture (1.8).
7/2/14        BPG       Follow-up re: PPI brief, other issues (.2);              2.20        $1,518.00
                        confer D. Lowenthal re: same, confer C. Dent
                        re: same (.6); consider Support Agreement
                        issues and follow-up (.3); OC D. Lowenthal re:
                        brief, including tc with F. Hodara, A. Qureshi
                        and M. Riela re: same (1.1).
7/2/14        CWD OC D. Lowenthal and B. Guiney re PPI brief                     1.60          $912.00
                   and related issues, follow-up re same (1.2); TC
                   JC Lanza re Indenture issues (.4),
         Case 09-10138-MFW        Doc 17958-5        Filed 02/24/17   Page 38 of 40



                                                                   Page 2
                                                                   Invoice No. 804007
                                                                   August 20, 2014
                                                                   L0353-000007


7/2/14   DAL   Work on PPI, including TCs with T. Kreller,          3.70      $3,311.50
               Akin and M. Riela to discuss go-forward plan
               for ad hots, ITs and Committee (3.7).
7/2/14   JCL   Continued review of Prospectus Supplement,           2.90      $2,015.50
               Indenture and related documentation; attended
               to review of C. Dent e-mail TCs
               correspondence re: same; conf call w/ C. Dent
               re: review of claims, etc (2.9).
7/3/14   DAL   Work on interest issues, including review of         5.20      $4,654.00
               cases for briefs (5.2).
7/7/14   BPG   Reviewing case law for pleading (.8); TC D.          2.00      $1,380.00
               Lowenthal re: same and follow-up re: same
               (.9); review e-mail re: brief, confer C. Dent re:
               same (.3).
7/7/14   CWD   OC B. Guiney re PPI brief, e-mails re same and       0.40        $228.00
               contact w/holder's counsel (.4).
7/7/14   DAL   Work on PPI analysis and briefing, including         3.00      $2,685.00
               review of case law and TC with J. Tecce (3.0).
7/8/14   BPG   E-mails re: brief (.3); work on outline re: same     2.00      $1,380.00
               (.5); OC D. Lowenthal re: same and follow-up
               re: same (1.2).
7/8/14   CWD   Reviewing case law re claim issues, TC B.            0.50        $285.00
               Guiney re same (.4); reviewing docket (.1).
7/8/14   DAL   Work on PPI analysis for brief (6.9).                6.90      $6,175.50
7/9/14   BPG   Confer D. Lowenthal re: open issues, brief (.5);     5.10      $3,519.00
               work on Indenture summary (1.0); work on
               insert for brief (1.9); confer C. Dent re:
               Indenture and Prospectus, OC D. Lowenthal re:
               same, follow-up C. Dent and D. Lowenthal re:
               same, follow-up D. Lowenthal re: same (1.1);
               finalize insert for brief, circulate (.6).
7/9/14   CWD   OC B. Guiney re PPI brief issues, meeting re         1.30        $741.00
               same w/D. Lowenthal (.9); follow-up re same
               (.4).
7/9/14   DAL   Work on PPI brief, including review of               5.80      $5,191.00
               Indenture documents and case law (5.8).
          Case 09-10138-MFW         Doc 17958-5        Filed 02/24/17     Page 39 of 40


                                                                       Page 3
                                                                       Invoice No. 804007
                                                                       August 20, 2014
                                                                       L0353-000007


7/10/14    BPG     Review Milbank opening brief (1.2); follow-up        5.40      $3,726.00
                   D. Lowenthal re: same, confer C. Dent re: same
                   (.4); prepare for and participate on Committee
                   call, follow-up re: same, confer C. Dent re:
                   same (.7); review Committee brief and follow-
                   up (.9); OC D. Lowenthal re: briefing issues
                   (.3); prepare issues list per same (.4); continue
                   reviewing rider, revising same, multiple TCs
                   and e-mails with D. Lowenthal re: same (.7);
                   continue reviewing briefs and related case law
                   (.8).
7/10/14    CWD Reviewing draft Milbank brief and draft Akin             1.90      $1,083.00
                 brief, e-mails re same w/D. Lowenthal and B.
                Guiney (.8); Committee call (.5); OC D.
                Lowenthal and B. Guiney re PPI briefs (.3);
                revising monthly fee statement, note to
                accounting department re same (.3).
7/10/14    DAL Work on PPI brief, including TCs with T.                 5.80      $5,191.00
                Kreller and Akin re brief issues, draft brief,
                review case law, review Milbank's and Akin's
                draft briefs, and e-mails with Canadian counsel
                re briefing status (5.8).
7/11/14    BPG Confer D. Lowenthal re: brief, OC Akin team              2.60      $1,794.00
                 re: same, work on revisions to rider, attention
                 to e-mails re: same (.9); e-mails re: same,
                 prepare supplemental brief per D. Lowenthal
                 (1.1); review Canadian brief (.6).
7/11/14    CWD E-mails re PPI brief, TC D. Lowenthal re same            2.20      $1,254.00
                 (.6); reviewing docket (.1); reviewing Canadian
                 PPI brief, TC B. Guiney re same (.4);
                 reviewing and revising Law Debenture
                 supplemental brief, e-mails re same w/D.
                 Lowenthal and B. Guiney (1.1).
7/11/14    DAL Work on PPI brief including communications               3.60       $3,222.00
                with Milbank, Quinn, Akin and Canadian
                counsel re brief issues in the US and Canada
                (3.6).
          Case 09-10138-MFW          Doc 17958-5       Filed 02/24/17    Page 40 of 40



                                                                     Page 4
                                                                     Invoice No. 804007
                                                                     August 20, 2014
                                                                     L0353-000007


7/12/14   CWD Reviewing revised PPI briefs from ad hoc                0.90        $513.00
               group (US and Canada) and Committee, e-
               mails re same w/D. Lowenthal and B. Guiney
               (.9).
7/13/14   BPG     Review briefs, review e-mails re: same, work        1.60      $1,104.00
                  on comments to same (1.6).
7/13/14   DAL Review draft bondholder and Committee                   1.40      $1,253.00
                Interest Issues briefs (1.4).
7/14/14   BPG     Review all briefs and confer D. Lowenthal re:       4.50      $3,105.00
                  same (.9); review and revise Milbank brief, TC
                  S. Vora re: same, follow-up re: same (1.3);
                  follow-up D. Lowenthal re: Supplemental
                  Brief, multiple TCs and e-mails re: same (1.8);
                  follow-up re: cross-border claims Order, review
                  same, confer with D. Lowenthal re: same (.5).
7/14/14   CWD E-mails re PPI briefs, reviewing revised draft          0.60        $342.00
                of Law Debenture supplemental brief, OC B.
                Guiney re same (.2); reviewing draft holder
                brief (.2); finalizing monthly fee statement, e-
                mails re same w/D. Lowenthal (.2).
7/14/14   DAL Work on PPI briefing including review of case           5.00      $4,475.00
               law, review of Milbank-led brief, Committee
               brief, and coordinate with holders' counsel
               (5.0).
7/15/14   BPG     Review and revise Milbank brief, review and         5.50      $3,795.00
                  revise PBWT brief, review Canadian brief,
                  follow-up re: all, multiple TCs and e-mails with
                  S. Vora, D. Lowenthal, M. Riela, C. Kunz and
                  others re: same (2.9); follow-up re: same,
                  attention to finalizing and filing both briefs,
                  multiple TCs and e-mails with D. Lowenthal
                  and C. Dent re: same (1.6); begin reviewing
                  opening briefs of other core parties, consider
                  same with D. Lowenthal (1.0).
7/15/14   CWD E-mails re PPI briefs, OC B. Guiney re same,            0.70        $399.00
                reviewing same (.6); reviewing docket (.1).
